                      Case 17-40179        Doc 3     Filed 02/01/17        Entered 02/01/17 16:04:54        Desc Main Document   Page 1 of 33




 Fill in this ¡nformation to identify the case and this filing


 Debtor Name       Payson Petroleum 3 Well, LP

 United States Bankruptcy Court for the:
                                           Eastern                          District of
                                                                                          Texas
                                                                                          (State)

 Case number (/fk owr):
                             17-40179




Official Form 202
Declaration Under Penalty of Periury for Non-lndividual Debtors                                                                                            12t15

An individual who is authorizêd to act on behalf of a non-indlvidual debtor, such ae a corporatlon or paÉnerchip, must sign and submit
this form for tho schedules of assets and liabilitles, any other document that rcquires a declaration that ls not included ¡n the documênt,
and any amendments of tho€e documents, This fo¡m must stâte the lndividual's position or relatlonship to the debtor, the identity of the
document, and the dato, Bankruptcy Rules 1008 and 9011.
WARNING       -   Bankruptcy fraud is a serious crime. Making a falsê statemont, concealing property, or obtaining money or property by fraud in
connectionwithabankruptcycasecanresultinfinesupto$500,000orimprisonmentforupto20yêars,orboth.18U.S.C.SS162,f341,
1519, and 3571.



              Declaration and signature


         I amthe president, another offìcer, or an authorized agent ofthe corporation; a member or an authorized agent ofthe partnersh¡p; or
         another individual serving as a representative ofthe debtor in this case.

         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:



         E        Schedule A/B: Assefs-Rea/ and Personal Properfy (Ofücial Form 2064/8)

         E        Schedule D: CreditorsWho Have Claims Secured by Property (Official Form 206D)

         E        Schedule E/F: Creditors Who Have Unsecured C/alms (Official Form 206E/F)

         n        Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

         n        Schedule H: Codebtors (Ofücial Form 206H)

         n        Summary of Assets and Liab¡lit¡es for Nonlndividuals (Ofücial Form 206sum)

         tr       Amended Schedule


         tr       Chapter 11 or Chapter    I   Cases: Llst of Creditors Who Have the 20 Largest Unsecured Claims and Are Nof /nslders (Official Form 204)


         tr       Other document that reouires a declaration




          I   declare under penalty of perjury that the foregoing     ¡s   true and correct.



         Executed     on   113112017                             *         /s/ Matthew C. Giffin
                           MM/DD/YYYY                                 Signature of ind¡vidual signing on behalf of debtor



                                                                       Matthew C. Griffin
                                                                      Printed name

                                                                       Solê member and former President of general partner Payson Petroleum Grayson, LLC
                                                                      Position or relat¡onsh¡p to debtor



Official Form 202                                 Declaration Under Penalty of Perjury for Nonlndividual Debtorc
                               Case 17-40179        Doc 3      Filed 02/01/17      Entered 02/01/17 16:04:54     Desc Main Document   Page 2 of 33




    Fill in this ¡nformat¡on to ident¡fy the case:
                        Payson Petroleum 3 Well, LP
    Debtor name


    united states Bankruprcy court f orthe:
                                                    Eastefn                              D¡strict of
                                                                                                       Texas
                                                                                                       (State)

    Case number        (lf   knowri):
                                        17-40179

                                                                                                                                             E    Check if this is an
                                                                                                                                                  amended filing




OfficialForm 206Sum
Summary of Assets and Liabilities for Non-lndividuals                                                                                                           12t16




Part l:           Summary of Assets


t   .   Sch ed   uIe   N B.' Asfs-Rea      /   an   dP   ers n al P ro perty (OÍficial    Form 2064/8)

        ta. Real property:                                                                                                                        41.77
                                                                                                                                              $
              Copy line 88 from Schedule NB


        tu. Total personal property:
                                                                                                                                              $
                                                                                                                                                  0.00
              Copy line       9lAfrom ScheduleNB.

        rc. Total   ofall property:                                                                                                           $
                                                                                                                                                  41.77




@                 Summary of Liabilities




z.      Schedule D: CredibrcWho Have ClaimsSecured by Proprfy(Official Form 206D)
                                                                                                                                                  196,369.43
                                                                                                                                              $
        Copy the total dollar annunt listed in Colurm A, Amount of clalm, f romline 3 of Schedule D..

g. Schedule E/F: Credifu.tsWho Have Unæcured                            Claims(Official Form 2068F)

        sa.   Total claim amounts of priority ursecuredclaims:                                                                                    0.00
              Cæpy the total clainæ fromlàrt 1 fromline Saof Schedule HF                                                                      $



        s¡. Total am ount of claims of nonpriority am ou nt of u nsecu red claims:
            Copy the total of the amcunt of clains fromPart 2 fromline 5b of Sc/¡edule ÚF...................
                                                                                                                                          + E28,288'52


                                                                                                                                              $224,657.95
        Lines2 + 3a+ 3b




    Official Form 206Sum                                 Sum m ary of Assets and Liatrilities for l,lon-lndividuals                                  page   1
                             Case 17-40179      Doc 3    Filed 02/01/17    Entered 02/01/17 16:04:54               Desc Main Document               Page 3 of 33




  F¡ll in th¡s information to identify the case:

  Debtor name         Payson Petroleum 3 Well, LP



  United States Bankruptcy Court for           Eastern                       Distr¡d   of   Texas
                                                                                            (State)

  Case number (lf known):          17-40'179
                                                                                                                                                                E      Cfreck if this is an
                                                                                                                                                                       amended filing



Official Form 206N8
Schedule A/B: Assets                                                 Real and Personal Property
                                                               -
Disclose all property, real and personal, wh¡ch the debtor owns or in which the debtor has any other legal, equitable, or future interest. lnclude
                                                                                                                                                                                  12t15


all property in which the debtor ho¡ds r¡ghts and powera exercisable for the debtor's own benefit. Also include assets and properties which have
no book value, such as fully depreciated assets or assets that were not capitalized. ln Schedule A/8, list any executory contracts or unexp¡red
leases. Also list them on Scl¡edule G: Executory Contracts and Unexpired l-eases (Official Form 206G).
Be as complete and accurate as possible. lf more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debto/s name and case number (if known). Also identify the form and line number to wh¡ch the additional information applies. lf an
additional sheet is attached, include the amounts from the attachment ln the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed a$et
schedu¡e or depreclatlon schedulê, that glves the details for each asset in a partlcular category. Llst each asset only once. ¡n valulng the
debtoy's interest, do not doduct the valuê of secured claims. See the lnstructlons to undeetand the term¡ used ¡n this fonn.


Part l:         Gash and cash equivalents

1. Does the debtor have any cash or cash equivalents?
   I         ¡¡o. Go to Part 2.
   E         y"*.   Fill in the information below.

       All cash or cash equ¡valents owned or controlled by the debtor                                                                                      Cunrnt value of debto/g
                                                                                                                                                           lntsrêst

2. Gash on hand                                                                                                                                        $   0.00


3. Checking, savings, money market, or financial brokerage accounts (ldentify ail)
   Name of ¡nstitution (bank or brokerage f¡rm)                           Type of account                         Last 4 digits of account number
   3.1.      NorthstarBank                                                Checking                                 5348                                    36.33
   3.2.      NorthstarBank                                                Savlngs                                  s_1_81                                  5.44



4. Other cash equivalents            (ldentify all)
   4.1.                                                                                                                                                 $ 0.00

   4.2.                                                                                                                                                    0.00



5. Total of Part I                                                                                                                                             41.77

   Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80



Pa¡f    22      Deposits and prepayments

6. Does the debtor have any deposits or prepayments?
   I         ruo. Go to Part 3.
   E         Yes. Fill in the information below.
                                                                                                                                                            Currcnt value of
                                                                                                                                                            debto/s lnterost
7. Depos¡ts, ¡ncluding security deposits and ut¡l¡ty deposits
   Descriplion, including name of holder of deposit

   7.1                                                                                                                                                     s
   7




  Official Form 2064,/8                                            Schedule A/B: Assets                   Real and Personal Property                                          page   1
                                                                                                      -
                                Case 17-40179     Doc 3   Filed 02/01/17   Entered 02/01/17 16:04:54             Desc Main Document      Page 4 of 33



Debtor                    Pavson Petroleum 3 Well. LP                                                        Case   numberpr*norùL
                         Name




L     Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
      Description, including name of holder of prepayment
                                                                                                                                              a
      8.1
                                                                                                                                              a


9. Total ofPart2.
                                                                                                                                              $ 0.00
      Add lines 7 through 8. Copy the total to line       81




Part 3:           Accounts rece¡vable

10. Does the debtor have any accounts receivable?
          El    ruo.   co to Part 4.
          E     yes. Fill in the information below.
                                                                                                                                                  Cu116nt value of   debto/s
                                                                                                                                                  intorêst
1   1. Accounts receivable

          11a. 90      days old or less:                                                                          =........Ð
                                            face âmount                    doubtful or uncollec,tible accounts

          11b. Over 90      days old:                                                                                    à                    $
                                            face amount                    doubtful or uncollect¡ble accounts


12. 'lolal of Part              3
         Current value on l¡nes 112 + 1'lb = l¡ne 12. Copy the total to line 82.


Part       4=      lnvestments
1   3.    Doês the debtor own any investments?
          E     ruo.   co to Part   5.

          E     yes. Fill in the information below.
                                                                                                                     Valuation method             Current value of debto/s
                                                                                                                     used for currcnt value       interest

14. Mutual funds or publicly traded stocks not ¡ncluded ¡n Part I
         Name of fund or stock:
         14.1                                                                                                                                 $
         14.2                                                                                                                                 $




15. Non-publicly traded stock and interests in incorporated and unincorporated businesses,
    including any interest in an LLC, partnersh¡p, orjoint venture

         Name of entity:                                                                      % of ownersh¡p:

         15.1                                                                                           %                                     a
         15.2                                                                                           lo                                    a



16. Government bonds, corporate bonds, and other negotiable and non-negotiable
          instruments not included in Part          I
         Describe:
         1A I                                                                                                                                     s
                                                                                                                                                  s




17. Total ofPart4                                                                                                                             Q

          Add lines 14 through 16. Copy the total to l¡ne 83.



    Official Form 2064,/8                                           Schedule A/B: Assets          Real and Perconal Property                                  page 2
                                                                                              -
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                        Payson Petroleum 3 Well, LP                                                                                    17-40179
    Debtor                                                                                                            Case number
                        Name




Part 5:          lnventory, excluding agriculture assets

I   8.    Does the debtor own any inventory (excluding agriculture assets)?

          E    ruo.   co to Part 6.
          fl   yes. Fill in the ¡nformat¡on below.

           Goneral descr¡pt¡on                                     Date of the last            Net book value of           Valuation method used       Current value of
                                                                   physical inventory          debto¡'s ¡nterest           for current value           debto/s lnterest
                                                                                               (Wtlere ava¡lable)

19. Raw materials
                                                                                              a                                                    $
                                                                    MM /DD/YYYY

20. Work in progress
                                                                                                                                                   s
                                                                   I\¡M /DD/YYYY

21. Finished goods, including goods held for resale

                                                                   MI\il /DD/YYYY

22. Othel inventory or supplies
                                                                                              $                                                    $
                                                                   IVIM   /DD/YYYY


23. Total of Part              5
          Add lines 19 through 22. Copy the total to line 84.

24. ls any of the property l¡sted in Part                 5 per¡shable?
          Eruo
          E     v""
25. Has any of the property listed in Part                  5 been purchased         within 20 days before the bankruptcy was filed?
          ENo
          E Yes. Book value                                     Valuation    method_                                Current

26.       Has any of the property listed ¡n Part 5 been appraised by a professional within the last year?
          Eruo
          E     Yes

Part 6:           Farming and fishing-related assets (other than titled motor vehicles and land)

27. Does the debtor own or lease any farming and fishing-related assêts (other than titled motor vehicles and land)?
          E    ruo.   co to Part      7.

          E    Yes. Fill in the information below.

           General description                                                                    Net book value    of     Valuation method used       Current value of   debtofs   r

                                                                                                  debto/s lnterêst         for current value           interest
                                                                                                  (Where available)

28. Crops-+¡ther planted or harvested
                                                                                                                                                   a


29. Farm animals                   Examples'. Livestock, poultry, farm-raised f¡sh

                                                                                                                                                   $

30. Farm mach¡nery and equipment                       (Other than titled motor vehicles)
                                                                                                                                                   a


31    .   Farm and f¡shing supplies, chemicals, and feed
                                                                                                                                                   s

32. Other farming and fishíng-related property not already listed in Part 6
                                                                                                                                                   a



    Offìc¡al Form 2064"/8                                                   Schedule A/B: Assets           Roal and Personal Property                              page 3
                                                                                                       -
                               Case 17-40179    Doc 3   Filed 02/01/17    Entered 02/01/17 16:04:54          Desc Main Document           Page 6 of 33



Debtor                 Payson Petroleum 3 Well, LP                                                        case number {rr*n'*, 17   41ß
                       Neme




33. Total of Part             6.                                                                                                               0.00
         Add lines 28 through 32. Copy the total to line 85.

34. ls the debtor             a member of an agricultural cooperative?

          Euo
          E yes. ls any of the debtor's pr"operty    stored at the cooperative?

                 ENo
                 E ves
35. Has any of the property l¡sted             ¡n Part 6 been purchased within 20 days before the bankruptcy was filed?

          D ¡ro
          E Yes. Book value $                        Valuation method                           Current value

36. ls a depreciat¡on schedule available for any of the property listed in Part 6?
          Eruo
          E      ves
37. Has any of the property listed in Part            6 been appraised by a professional w¡th¡n the last year?

          Eruo
          E      yes



Part       7=      Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

          E No. co to Part 8.
          fl yes. Fill in the information below.
         General description                                                        Nêt book value      of       Valuation method              Current value of dêbto/s
                                                                                                                 used for current value        ¡nteregt
                                                                                    (\ /here available)

39. Office furniture
                                                                                     E


40. Office fixtures
                                                                                     $


41   .    Off¡ce equipment, including all computer equipment and
          communicat¡on systems equipment and software
                                                                                     $

42. Gollectibles       Examples; Antiques and figurines; pa¡ntings, prints, or other
          artwork; books, pictures, or other art objects; china and crystal; stamp, coin,
          or baseball card collections; other collections, memorabilia, or collectibles
         42.                                                                         $

         42. 2                                                                       $

                                                                                     $

43. Total of Part 7.                                                                                                                            0.00
          Add lines 39 through 42. Copy the total to line 86.

44. ls a depreciation schedule ava¡lable for any of the property l¡sted in Part 7?
          ENo
          D      Yes

45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?

          Eruo
          E      yes


 Official Form 2064/8                                              Schedule A/B: Assets         Real and Personal Property                                page 4
                                                                                            -
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Deblor
                    Payson Petroleum 3 Well, LP                                                          Case numbef
                                                                                                                          17-40179
                    NAme




Part 8: Machinery, equipment, and vehicles

46.   Does the debtor own or lease any machinery, equipment, or vehicles?

      E      No. Go to Part 9.
      E      yes. Fill in the information below.


   General doscr¡ption                                                              Net book va¡ue of           Valuation method used       Cu¡rent value   of
                                                                                    debto/¡ lntereot            for cunent value            dobtods lnterest     :

      lnclude year, make, model, and iclentification numbers (i.e., VlN,
                                                                                    (Vvhere available)
      HlN, or N-number)
                                                                                                                                                                 :

                                                                                                                                                                 :

47. Automob¡les, vans, trucks, motorcycles, trailers, and titled farm vehicles
                                                                                                                                                                 I

   47.1                                                                                                                                 s                        :


   47                                                                                $                                                  s
                                                                                                                                                                 I

   47
                                                                                                                                                                 i
   47


48. watercraft, trailers, motoÉ, and related accessories Examples: Boats,
      trailers, motors, floating homes, personal watercraft, and fishing vessels

   48.




49. Aircraft and accessories
      49.                                                                           s

                                                                                    $


50. Other machinery, fixtures, and equipment (excluding farm
       machinery and equipment)

                                                                                    $_

51. Total of Part 8.                                                                                                                    $   0.00
      Add lines 47 through 50. Copy the total to line 87



52. ls      a depreciation schedule available for any of the property listed in Part 8?
       Eruo
       E      v"*
53.    Has any of the property ¡isted ¡n Part        I   been appraised by a professional within the last year?
       E      ¡¡o
       E      ves




 Official Form 2064/8                                              Schedule A/B: Assets       Real and Perconal Property                              page 5
                                                                                          -
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Debtor
                      Payson Petroleum 3 Well, LP                                                       Case number
                                                                                                                          17-40179


Part 9:         Real property

54. Does the debtor own or lease any real property?
       D no. co to Part 10.
       E y"". Fill in the information below.
55. Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

       Description and location of       property                     extent
                                                              Nature. and              Net book value of        Valuatlon method used    Gurrent value of
                                                 as
       tnclude street address or other deiCnpt¡onËucn         of debto/s    interesl   debto¡'s ¡ntercst        for current value        debto/s interest
       Assessor Parcel Number (APN), and iype of properly     ln property              (Wtrere available)
       (for example, acreage, faclory, warehouse, apartment
       or offtce building), ¡f available.

       55.   Well: William #1 H (APl #181-31 557)              21.75% NRI                  Unknown                                        Unknown

       oooWell: Crowe           #2( Pl #181-31543)             21.75% NRI                  Unknown                                        Unknown

       o^"Well: Elaine #1 (APl #181-31547) 21.75% NRI                                      Unknown                                       * Unknown

       EqÁ

                                                                                       $

       ÃÂ^                                                                             (

56. Total of Part        9.
      Add the current value on l¡nes 55.1 through 55.6 and entries from any additional sheets. Copy the total to line 88.


57. ls a depreciation schedule available for any of the property listed in Part 9?
       I      ¡¡o
       E      ves
58.    Has any of the property listed in Part 9 been appraised by a professional within the last year?
       lruo
       E      Y""

Pant   1       lntangibles and intellectual propertyr
59. Does the debtor have any interests in ¡ntang¡bles or intellectual property?
       E     ruo.   co to Part 11.
       E     Yes. Fill in the information below.

        General       deecription                                                      Net book vafue   of      Valuation method         Current value of
                                                                                       debto/s inlerest         used for current value   debtods intêrcst
                                                                                       (\Mtere availâble)
60. Patents, copyrights, trademarks, and trade secrets
                                                                                       $

61. lnternet domain names and websites

62. Licenses, franchises, and royalties
                                                                                       $                                                  $

63. Customer lists, mailing lists, or other compilations

64. Other intangibles, or intellectual property
                                                                                                                                         $

65. Goodwill


66. Total of Part'10.
      Add lines 60 through 65. Copy the total to line 89.




Official Form 2064/8                                             Schedule A/B: Assets           Real and Personal Propeúy                           page 6
                                                                                            -
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                     Payson Petroleum 3 Well, LP                                                                   Case number           17-40179
Debtor
                     Name




67.      Do your lists or records include personally ¡dentifiable informat¡on of customers (as defined in 11 U.S.C. SS 101(414) and 107)?

         fl   No
         E    ves
68. ls there an amortization or other sim¡lar schedule available for any of the property listed                           ¡n Part 10?

         Eruo
         fl   ves
69.      Has any of the property ¡isted in Part             l0   been appraised by a professional within the last year?
         trNo
         E    ves

Part 1l= All other assets

70.      Does the debtor own any other assets that have not yet been reported on this form?
         lnclude all interests in executory contracts and unexpired leases not previously reported on this form.
         E    ¡lo. co to Part 12.
         E    yes. Fill in the information below.
                                                                                                                                                             Currcnt value of
                                                                                                                                                             debto/s interæt
71   .   Notes receivable
         Descript¡on (include name of obligo0
                                                                                                                                                  =)     s
                                                                                        Total face   amount    doubtful or uncollectible amounl

72. Tax refunds and unused net operating losses                        (NOLS)

         Descr¡ption (for example, federal, state, local)

                                                                                                                              Tax year                   s
                                                                                                                              Tax year                   s
                                                                                                                              Tax year                   s

73. lnterests in insurance policies or annuities


74. Causes of act¡on against third part¡es (whether or not a lawsuit
         has been filed)
         Claims against Jason Searcy, Chapter 11 hustee                                                                                                      Unknown

         Nature of claim                    Turnover of debtor revenue
                                            c   Unknown, but bel¡eved to bo morô than $300.000.00
         Amount requested

75. Other contingent and unliquidated claims or causes of action of
         every nature, including counterclaims of the debtor and rights to
         set off claims


         Nature of claim
         Amount requested

76. Trusts, equitable or future interests in property


77   .   Olhü property of any kind not already                listød   Examples: Season tickets,
         country club membership




78. Total of Part           11.                                                                                                                              Unknown
         Add lines 71 through 77. Copy the total to line 90.

79.      Has any of the proporty listed in Part 11 been appra¡sed by a professional w¡thin the last year?
         I     tto
         fl    Y""

 Official Form 2064"/B                                                       Schedule A/B: Assets           Real and Personal Property                                  page 7
                                                                                                        -
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                  Payson Petroleum 3 Well, LP                                                                                  17-40179
Debtor                                                                                                        Case number
                  Name




Part     12=    Summary


ln Patt't2 copy all of the totals from the earlier parts of the form.


         Type of property                                                                   Current value of                  Cunent value
                                                                                            pensonal propo¡ty                 of real property

80. Cash, cash equivalents, and financial asssts. Copy line 5, Pañ                   1          "41.77
                                                                                                    0.00
81. Depos¡t8 and prepaymonts. Copy line                I,   Part 2.


                                                                                                $
                                                                                                    0.00
82. Accounts receivable. Copy line 12, Pañ 3.


83. lnvestments. Copy line 17, Paft 4.
                                                                                                .0.00
                                                                                                    0.00
84, lnventory. Copy line 23, Paft 5.
                                                                                                    0.00
85. Farm¡ng and fishing-related assets. Copy line 33, Paft                 6.


 86. Office furniture, fixturea, and equipment; and collectibles.                                   0.00
        Copy line 43, Pa¡t 7.
                                                                                                    0.00
 87. Machinery, equipment, and vehiclês. Copy l¡ne 51, Part                  I'                 $


                                                                                                                 Ð            s 0.00
 88. Real property. Copy line 56, Part   9.

                                                                                                n   0.00
 89. lntangib¡es and intellectual property' Copy line 66, Part 10.


 90. All other assels. Copy line 78, Paft     11   .
                                                                                            +   .0.00
                                                                                                                                  0.00
 91 .   Total. Add lines 80 through 90 for each column                               914.       $41.77               *sr      n




                                                                                                                                                    41.77
 92. Total of all property on Schedule     A/8.             Lines 91a + 9l b = 92.




 Official Form 2064,/8                                                  Schedule A/B: Assets            Real and Personal PropeÉy                        page 8
                                                                                                    -
                               Case 17-40179                       Doc 3     Filed 02/01/17     Entered 02/01/17 16:04:54             Desc Main Document           Page 11 of 33




 Fill in this information to identify the case:

     Debtor name       Payson Petroleum 3 Well, LP

     United States Bankruptcy Court for the:                       Eastern                       9¡.¡r¡61 61 Texas
                                                                                                            (stâte)

  Case number (lf known)                     17-40179
                                                                                                                                                                           E cne* if this is an
                                                                                                                                                                              amended filing
 Official Form 206D
 Schedule D: Greditors Who Have Glaims Secured by Property                                                                                                                                  12t15

 Be as complete and accurate as possible.

 l.    Do any creditors have clalms secured by debto/s property?
       I  No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
       E  Yes. Fill in all of the information below.

                     List Greditors Who Have Secured Claims
 z. List   ¡n alphabetical order all creditols who have secured claims. lf a creditor has more than one
                                                                                                                                                     Column   A              Column B

       secured claim, list the creditor separately for each cla¡m.
                                                                                                                                                     Amount of    clalm Value of collateral
                                                                                                                                                     Do nc,t deducf the y61u¿ that supports thi6
                                                                                                                                                     of collateral.           clalm
                                                                                   Describe debtor's property that is subject to a lien
!!     creditor's name
            PCS Ferguson, lnc.                                                      William Well #1H (see attached for description)                   29,776.06

        Creditor's mailing address
            8901 West Frwy
            Fort Worth, TX 761 16-2854                                             Descr¡be the lien

       Cred¡tor's email addre$, if known                                            ls the creditor an ¡nsider or related party?
                                                                                    I    No
                                                                                    E    Yes

       Date debt was incurred                     Var¡ous                           ls anyone else liable on this claim?
                                                                                    D    No
       Last 4 digits of account
       number
                                                                                    t    Yes. Fill out Schedule H: Codebfors (Ofücial Form 206H).

       Do multiple creditors have an interest ¡n the                                As of the petition filing date, the clalm ls:
       same property?                                                               Check all that apply.
        tr   No                                                                     E
        t    Yes. Specify each creditor, including this creditor,                   E
                                                                                         Contingent
                                                                                         Unliquidated
                  and its relative prior¡ty.                                        E    Disputed
                   Quãsar, PCS       Fergusn, P6ak Oilleld, and Soloct Energy;
                   oach have a lien on W¡ll¡âm Wêll #1H (seo           attachêd-
                   r^r dac^dñt¡^nl     iñ thât ôdar    ñf ôdôdlv             E¡

       Creditor's name                                                             Dêscr¡be debtor's property that is subject to a lien
            Peak Oilfield Serv¡ces, LLC                                             William Well #1H (sêe attached for description)                  s 18,530.97

        creditods mailing address
            4506 S. lnterstate 35
            Gainesville, Tx76240                                                   Describe the lien

        Cred¡tor's email address, if known                                          ls the creditor an inslder or related party?
                                                                                    t    No
                                                                                    tr   Yês

        Date debt was ¡ncurred                        Various                       ls anyone else liable on this claim?
                                                                                    tr   No
        Last 4 digits of account
        number
                                                                                    I    Yes. Fill out Schedule H: Codebfors (Official Form 206H).

                                                                                    As of the pet¡tion fil¡ng date, the cla¡m is:
        Do multiple creditors have an ¡nterest ¡n the
                                                                                    Check all that apply.
        same property?
        E    ¡¡o                                                                    E    Contingent
        I    Yes. Have you already specified the relative                           E    Unliquidated
                   PrioritY?
                                                                                    E    Disputed
              E    No. Specify each cred¡tor, includ¡ng this
                       cred¡tor, and its relative priority.



              I    Yes. The relative priority of cred¡tors ¡s
                       soecified on lines 2r

 3. Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional                                                         196,369.43
        Paqe. if anv.


       Off¡cial Form 206D                                               Schedule D: Creditoe Who Have Claims Secured by Property                                                   page 1   of   3
              Case 17-40179     Doc 3   Filed 02/01/17   Entered 02/01/17 16:04:54   Desc Main Document     Page 12 of 33




Dêbtor        Payson Petroleum 3 Well, LP                                            Case number   orø.*¡ 1740179
             Name




         Schedule       D: Creditors       Who Have Claims Secured by Properfy

         Part 1: Continued

                    Describe debtor's prope4v that is subject to a lien
                       1. The William #1H (API #181-31557) and associated wellbore, with a surface
                           location situated at latitude 33o 44' 44" -north, longitude 96' 4l' 01" - west, in
                           the easthalf ofthe Section 26,BLK 1, 11, 15, 16, JMDodgin Survey, Abstract
                           378, Grayson County, TX, (from the surface of the earth down to the base of the
                           Viola Limestone defïned as the stratigraphic equivalent of 11,835' as found in the
                                                                            'Wertz
                           Brown Gas Unit No. I well located in the P. R.           Survey, Abstract 1387,
                           Grayson county, TX).

                       2.   The Crowe #2 (API # 1 I 1-3 I 543) and associated wellbore, with a surface location
                            situated at latitude 33o 49' 10" - north, longitude 96' 4l' 55" - west, in Section
                            11, BLK 1, 11, 15, 16, the South 79 acres of the Wood & Buckles Survey,
                            Abstract 1373, Grayson County, TX, (from the surface of the earth down to the
                            measured depth of ll,164'), collectively refered to in the Assignment as the
                            ("Well").




                                                                                                                            page 2   of   3
                               Case 17-40179      Doc 3        Filed 02/01/17          Entered 02/01/17 16:04:54          Desc Main Document               Page 13 of 33



Debtor                                                                                                                  Case number



                                                                                                                                             Column A               Column B
                   Addit¡onal Page                                                                                                          Amount of  clalm value of collåteral
                                                                                                                                            Do not dedud the y¿¡us that supports this
                                                                                                                                            ofcollalerat. claim
Copy this page on¡y if more space is needed, Continue numberlng the lines sequentlally from the
previous page,

  Cred¡tor's name                                                   Describe debtor's property that is subject to a l¡en

      Q(Hr EæryyWæs,lnc.                                              Cæ    #2 Well áñd W¡llþm W€ll
                                                                                                                                            Íß 8s,867.40


   Creditor's mailing address


                   f\7ß240                                           Describe the lien


  Creditor's email address, ¡f known                                 ls the creditor an ¡ns¡der or related party?
                                                                     I    tto
                                                                     E      Yes


  Date debt was incurred
                                                                     ls anyone else l¡able on this claim?
                                                                     Druo
  Last 4 digits of account                                           I      Yes. Fill out Sc¡,edule   H Codebfors (Off¡cial   Form 2o6H).
  number

  Do mult¡ple cred¡tors have an interest in the                      As of the petition filing date, the cla¡m is:
  same property?                                                     Check all lhat apply.

  Euo                                                                 E     Contingent
  I      Yes. Have you already specif¡ed the relative
                                                                      E     Unliqu¡dated
               priority?                                              D     Disputed

         E     No. Specify each creditor, including this
                   creditor, and its relal¡ve priority.




         I     Yes. The relative priority of creditors is
                   specified on lines    j:j_

  Creditor's name                                                    Descr¡be debtor's property that is subject to a lien

      Sded Eæ.qy &ry|æs ILC
                                                                                                                                            $   s,1gi.oo



   Cred¡tor's mailing address


      1tæN   135


                                                                     Describe the lien
                                                                         M&MLien



  Cred¡tor's email address, ¡f known                                  ls the creditor an insider or related party?
                                                                      t     No
                                                                      tr    Yes

  Date debt was incurred                                              ls anyone else liable on this claim?
                                                                      u     No
  Last 4 digits of account
  number
                                                                      t     Yes. Fill out Schedule H: Codeþfors (Official Form 206H).


  Do mult¡ple creditors have an interest ¡n the                       As of the pet¡tion filing date, the claim is:
  same property?                                                      Check all that apply.

   ENo                                                                E     Contingent
   E     Yes. Have you already specìfied the relat¡ve
                                                                      D     Unl¡quidated
                   priority?                                          E     oisputed

         E         No. Specify each cred¡tor, includ¡ng this
                       creditor, and its relative priority.




         I     Yes. The relative prior¡ty of cred¡tors ¡s
                   specif¡ed on lines 2.1



Off¡c¡al Form 206D                            Add¡t¡onal Page of Schedule D: Creditors Who Have Cla¡ms Secured by Property                                                 page   _9-   of   3
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     Fill in this information to identify the case

     Deblor          Payson Pêtroleum 3 Well, LP


     United Slates Bankruptcy Court for the:       Eastem                          Districl   of   Texas
                                                                                                   (State)

     Case number      17-40179
     (lf known)

                                                                                                                                                  E   Ctreck if this is an
                                                                                                                                                      amended filing
Official Form 206ElF
Schedule E/F: Greditors Who Have Unsecured GIaims                                                                                                                  12t15

Be as complete and accurate as possible' Use Part I for creditoe with PRIORITY unsecured cla¡ms and Part 2 for creditors with NONPRIORITY
unsecured claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts
on Schedule NBi Assefs - Real and Personal Properfy (Official Form 206A/8) and on Scl¡edule G: Executory Contracts and Unexpired Leases
(Offic¡al Form 206G). Number the êntries in Parts 1 and 2 in the boxes on the left, lf more space is needed for Part 1 or Paft2, f¡ll out and attac h
the Additional Page of that Part included in this form'

                  List All Greditors with PRIORIÎY Unsecured Glaims

l.    Do any creditoF have prior¡ty unsecured claims? (See 11 U'S.C $ 507).
      El t',¡o. co to Part 2.
      E   Yes. co to line 2.

2. List in alphabetical order alt creditorc who have unsecured claims that are entitled to priority in whole or in part.                   lf the debtor has more than
      3 creditors w¡th pr¡ority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                            Total clalm           Priority amount
      Pr¡ority creditor's name and mailing address                   As of the petit¡on fil¡ng date, the claim    is:   $
                                                                      Check ail that apply.
                                                                      E    Contingent
                                                                      E    Unl¡quidated
                                                                      E    Disputed

      Date or dates debt was incurred                                 Basis for the claim:



      Last 4 d¡gits of account                                        ls the claim subject to offset?
      number                                                          tr   No
                                                                      D    Yes
      Specify Code subsection of PRIORITY unsecured
      claim: 11 U.S.C. S 507(a)    )  (

      Pr¡or¡ty creditor's name and mailing address                    As of the petition filing date, the claim   is:   s
                                                                      Check ail that apply.
                                                                      tr   Contingent
                                                                      tr   Unliqu¡dated
                                                                      tr   Disputed

      Date or dates debt was incuned                                  Basis for the claim



      Last 4 dig¡ts of account                                        ls the cla¡m subject to offset?
      number                                                          tr   No
                                                                      tr   Yes
      Specify Gode subsection of PRIORITY unsecured
      claim: 11 U.S.C. S 507(a)    )  (

      Priority cred¡tor's name and ma¡l¡ng address                    As of the pet¡tlon filing date, the claim is:
                                                                      Check ail that apply.
                                                                      tr   Contingent
                                                                      tr   Unliquidated
                                                                      tr   Disputed

      Date or dates debt was ¡ncurred                                  Basis for the clalm:



      Last 4 digits of account                                        ls the claim subJect to offset?
      number                                                          tr     No
                                                                      tr   Yes
      Specify Gode subsection of PRIORITY unsecured
      cla¡m: 11 U.S.C. S 507(a)    )  (


 Off¡cial Form 206E/F                                         Schedule E/F: Crsditors Who Have Unsecured Claims                                           page   I of ¡
                          Case 17-40179   Doc 3    Filed 02/01/17   Entered 02/01/17 16:04:54             Desc Main Document      Page 15 of 33


Debtor              Payson Petroleum 3 Well, LP                                                          Case number
                   Name



                List All Greditors with NONPRIORITY Unsecured Glaims
3. List   ¡n   alphabet¡cal order all of the creditorc with nonpriority unsecured claims, lf the debtor has more than 6 creditors with nonprlority
   unsecured claims, fill out and attach the Additional Page of Part   2'
                                                                                                                                Amount of claim

   Nonpriority creditor's name and mailing address                          As of the petition filing date, the claim is        27,368.52
                                                                            Check ail that apply.
    Loewinsohn Flegle Deary Simon LLP
                                                                            E     Contingent
    12377 Merit Drive, Suite 900
                                                                            E     Unliquidated
                                                                            E     oisputed
    Dallas, TX 75251                                                                                 Legal Services
                                                                            Basis for the claim:

                                                  Various                   ls the claim subject to offset?
   Date or dates debt was incurred
                                                                            lNo
   Last 4 d¡g¡ts of account number                                          E Yes
   Nonpriority creditor's name and mail¡ng address                          As of the petltion filing date, the claim is:   s
                                                                            Check all that apply.
                                                                            E     Contingent
                                                                            E     Unliquidated
                                                                            E     oisputed

                                                                            Bas¡s for the claim

                                                                            ls the claim subject to offset?
   Date or dates debt was incurred
                                                                            Eruo
   Last 4 digits of account number                                          E     ves

   Nonpr¡or¡ty creditor's name and mail¡ng address                          As of the petition f¡ling date, the claim is:
                                                                            Check ail that apply.
                                                                            tr    Contingent
                                                                            tr    Unliquidated
                                                                            tr    D¡sputed

                                                                            Basis for the claim:
                                                                            ls the claim subject to offset?
   Date or dates debt was incurred
                                                                            tr    No
   Last 4 digits of account number                                          tr    Yes


   Nonpriority cred¡tor's name and mailing address                          As of the pet¡t¡on f¡l¡ng date, the claim ¡s:
                                                                                                                            $
                                                                            Check all that apply.
                                                                            E     Contingent
                                                                            E     Unliquidated
                                                                            E     Disputed           -
                                                                            Basis for the claim

                                                                            ls the cla¡m subject to offset?
   Date or dates debt was incurred
                                                                            fl    no
    Last 4 dig¡ts of account number                                         E     Yes

    Nonpr¡ority cred¡tor's name and mail¡ng address                         As of the pet¡tion filing date, the claim is:
                                                                            Check ail that apply.
                                                                            D     Contingent
                                                                            E     Unliquidated
                                                                            I     Disputed

                                                                            Basis for the cla¡m:
                                                                            ls the claim subject to offset?
    Date or dates debt was incurred
                                                                             tr   No
    Last 4 d¡gits of account number                                          tr   Yes

    Nonprior¡ty creditor's name and ma¡l¡ng address                         As of the pet¡tion filing date, the cla¡m is:
                                                                             Check ail that apply.
                                                                             E    Contingent
                                                                             E    Unliquidated
                                                                             E    Disputed
                                                                                                     -
                                                                             Basis for the claim:
                                                                             ls the claim subject to offset?
    Date or dates debt was incurred
                                                                             ENo
    Last 4 digits of account number                                          fl   ves



   Offìcial Form 206E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                              page 2   of   3
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                Payson Petroleum 3 Well, LP                                                                17-40179
 DebtoÍ                                                                                    Case number
               Nam€



             Totat Amounts of the PrioriQl and l{onpriorit¡l Unsecured Claims


5. Add the amounta of prior¡ty and nonpriority unEecurêd clalms.



                                                                                                                 lotal of clalm amounts


                                                                                                                  0.00
5a. Total claims from Part   I                                                                       5a.




                                                                                                     5b.   +
                                                                                                                  27,368.52
5b. Total claims from Part 2




5c. Total of Parts I and 2
                                                                                                     5c.
                                                                                                                 .27,368.52
    Lines 5a + 5b = 5c.




   Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Clalms                                         page3of   3_
                      Case 17-40179        Doc 3     Filed 02/01/17   Entered 02/01/17 16:04:54         Desc Main Document       Page 17 of 33




 Fill ¡n this information to identify the case:

 Debtor name      Payson Petroleum 3 Well, LP

 Unitêd Stâtes Bankruptcy Court for        Eastern                    District   of    Texas
                                                                                      (statê)

 Case number (lf known):      17-40179                                 Chapter        j-

                                                                                                                                          E cne* if this is an
                                                                                                                                              amended filing

Official Form 206G
Schedule G: Executory Gontraets and Unexpired Leases                                                                                                      12t15

Be as completo and accurate as possible. lf more space is neoded, copy and attach the additional page, numbering the entries consecutively'

 l.    Does the debtor have any executory contracts or unexpired leases?
       E    No. Check this box and file this form with the court with the debtor's other schedules. There is nothing else to report on th¡s form.
       E    yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/Bj Assefs - Real and Personal Propefty (OÍncial
       Form 2064/8).
 2. List all contlacts and unexpircd leases                                                     State the name and malllng addregç for all other partles with
                                                                                                whom the debtor has an oxecutory contmct or unexplred lease


         State what the contract or          Joint Operating Agreement for                       Payson Petroleum, lnc.
 2.1     lease ¡s for and the nature         operation of debtor's wells                         C/O Jason Searcy, Chapter 1'l Trustee
         of the debtor's interêst

         State the term remaining            Uncertain, depends on life of the wells
         List the contract number of
         any government contract


         State what the contract or          Turnkey Agreement                                   Payson Petroleum, lnc.
         lease is for and the nature         Drilling and completion of wells                    C/O Jason Searcy, Chapter 11 Trustee
           of the debtor's interest

         State the term remain¡ng            Uncertain
         L¡st the contract number     of
           any government contract


         State what the contract or
         lease is for and the nature
           of the debtor's ¡nterest

         State the term remaining
           L¡st the contract number   of
           any govemment contract


         State what the contract or
         lease is for and the nature
         of the dêbtor's interest

           State the term remaining
           List the contract number of
           any govornment contract


           State what the contract or
           lease is for and the nature
           of the debtor's interest

           State the term remaining
           L¡st the contract number   of
           any government contract




Official Form 206G                             Schedule G: Executory Contracts and Unexpired Leases                                             page 1   of 1'
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 Fill in th¡s information to ident¡fy the case:

 Debtor name       Payson Petroleum 3 Well, LP


 United States Bankruptcy Court for   r¡-. Eastern                        D¡strict   of   f9](a:_
                                                                                          (Statê)

 Case number (lf known):
                                 17-40179



                                                                                                                                                   B   Cnecf if this is an
                                                                                                                                                       amended filing
Official Form 206H
Schedule H: Godebtors                                                                                                                                                12115

Be as complete and accurate as possible. lf more space is needed, copy the Additional Page, numbering thê entr¡es consecut¡vely. Attach
the Addit¡onal Page to this page.


 1. Does the debtor have any codebtors?
         E   No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on th¡s form.
         E   Yes

 2. ln Column       1, l¡st as codebtors all of the people or entit¡es who are also liable for any debts listed by the debtor in the schedules of
         creditors, Schedu/es D-G. lnclude all guarantors and co-obligors. ln Column 2, identify the creditor to whom the debt is owed and each
         schedule on which the creditor ¡s listed. lf the codebtor is liable on a debt to more than one çreditor, list each creditor separately in Column 2

          Column   l:   Codeþtor                                                                                    Qolumn 2: C¡edTto¡

                                                                                                                                                       Check all schedules
               Name                     Mailing address                                                            Name                                that apply:


 2.1
             Payson Operating, LLC          C/O Jason Searcy Chapter 1 1 Trustee                                    PCS Ferguson, lnc.                 TD
                                         stfeet                                                                                                        tr E/F
                                                                                                                                                       ÉG

                                         City                         State                         ZIP Code


 22          Payson operating,   LLC        C/O Jason Searcy Chapter 1 1 Trustee                                    Peak Oilfield Services, LLC        ¡D
                                         Slreet                                                                                                        O E/F
                                                                                                                                                       trG

                                         City                         State                         ZIP Code


 23          Payson operating,   LLC        C/O Jason Searcy Chapter 1 1 Trustee                                    Ouasar Energy Seryices, LLC        ¡D
                                         Street                                                                                                        O    E/F
                                                                                                                                                       OG

                                                                                                    ZIP Code

 2   4       Payson operating,   LLC        C/O Jason Searcy Chapter 1 1 Trustee                                    Select Energy Services, LLC        t     D
                                         Street                                                                                                        D EIF
                                                                                                                                                       B    G




 2.5
             Payson Petroleum 3                                                                                     Loewinsohn Flegle
             Well 2014, L.P.                                                                                        Deary Simon LLP                    trD
                                         Street                                                                                                        ¡ E/F
                                                                                                                                                       OG

                                            City                       State                        zlP Code

 2.6
                                                                                                                                                       trD
                                            Street                                                                                                     U E/F
                                                                                                                                                       trG

                                            C¡ty                       State                        ZIP Code




Official Form 206H                                                    Schedule H: Codebtors                                                                 page 1   of   1
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F¡ll in th¡s ¡nformation to identify the case:

Debtor   n",o" Payson Petroleum      3 Well, LP

Uniled States Bankruptcy Court for the:
                                          Eastern                       District   of Texas
                                                                                     (State)

Case number (lf known):
                              17-40179


                                                                                                                                                    E cne* if this is an
                                                                                                                                                      amended filing


Official Form 207
Statement of Financial Affairs for Non-lndividuals Filing for Bankruptcy                                                                                                 04t16

The debtor must answer êvery question. lf more space is needed, attach a soparatê eheet to thls form' On the top of any addltional pages'
w¡ite the debtor's namê and case numbêr (if known).


                  lncome


 1. Gross revenue from business
     E     None

             ldenüfy tho b6ginning and ending dates ofthe debtor's fiscal year' which                  Sourceg of revenue                    Gtoss revenue
             may be a calendar year                                                                    Check all that apply                  (before dêductions and
                                                                                                                                             excluB¡ons)


           From the beginning of the         _        0110112017
                                                                                                       E    operating a business
                                                                                                                                                    Unknown
           fiscal year to filing date:       From                       to         Filing date         I    otn"t
                                                     Nll\rtlDD/YYn'

                                                      01t01t2016                    12t31t2016         El
            For prior year:                  From                       to                                  operating a bus¡ness                e   168,057.55
                                                     MM/DD/YYYY                    MM/DD/YYYY
                                                                                                       E    otn"t
                                                      0110112015                    12t31t2Q15         E
            Forthe year beforc that:         From                       to                                  operating a business                    297,681.60
                                                     MIV'/DD/YYYY                   MfV   / DD /YYYY
                                                                                                       D    otn",



 z. Non-businegs     revenue
     lnclude revenue regardless of whether that revenue is taxable. /Vor-öus,ness lncome may include interest, dividends, money collected
     from lawsuits, and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

      B    None

                                                                                                       Ðoscr¡ptlon of sources of revonue        Gross revenue from each
                                                                                                                                                30ufce
                                                                                                                                                (before deductions and
                                                                                                                                                exclus¡ons)


            From the beginning of the                                                                                                       a
            fiscal yearto filing date: From                              to        Filing date
                                                      ¡/IÍVI/DD/YYYY



            For pr¡or year:                  From                        to
                                                      MM/DD/YYYY                    MM/DD/YYYY                                              Q




            For the year before     that:    From                        to
                                                      MM   / DD /YYYY               MM/DD/YYYY




  Official Form 207                           Statement of Financial Affairc for Non-lndividuals Filing for Bankruptcy                                        page   I
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                     Payson Petroleum 3 Well, LP                                                           Case number
                                                                                                                                 17-40179
Deblor




                 L¡st Certa¡n Transfers Made Before Filing for Bankruptcy

 3. Certa¡n payments or transfers to creditors within 90 days before f¡l¡ng this case
      List payments or transfers-jncluding expense re¡mbursements--to any creditor, other than regular employee compensation, within 90
      days before fil¡ng this case unless the aggregate value of all property transferred to that creditor is less than $6,425. (This amount may be
      adjusted on 4101119 and every 3 years afrer that with respect to cases f¡led on or after the date of adjustment.)

      El     None

              Creditor's name and address                                Dates           TÕtål amount or velue           Roâsons for payment or bansfer
                                                                                                                         Check att that apply

              Loewinsohn Flegle Deary Simon LLP                          't1t18t2016         7,500.00                    tr    Secured debt
              Cred¡to/s name
              12377 Merit Drive
                                                                                                                         tr    Unsecured loan repaymenls

              5Ìreet
                                                                         12J31t2016
                                                                                                                         tr    Suppl¡ers or vendors
              Suite 900
                                                                                                                         El    services
              Dâllâs                         TX           75251
              L;[y                           State        ZIP Code
                                                                         01t13t2017
                                                                                                                         tr    g1¡", Payment and applications of retainer

      3.2.
                                                                                                                         tr    Secured debt
                       s nâme
                                                                                                                         tr    Unsecured loan repayments

                                                                                                                         tr    Suppliers or vendors

                                                                                                                         tr    Services

              C¡ty                           State        ZIP Code
                                                                                                                         D     Other


 4.   Payments or other transferc of         propefi      made w¡thin     I   year before filing this case that benef¡ted any insider
      List payments or transfers, including expense reimbursements, made within 1 year before fìling this case on debts owed to an insider or
      guaranteed or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than
      $6,425. (This amount may be adjusted on 4101119 and every 3 years after that with respect to cases f¡led on or afrer the date of adjustment.)
      Do not include any payments listed ¡n line 3. /nslders include officers, directors, and anyone in control of a corporate debtor and their relatives;
      general partners of a partnership debtor and the¡r relatives; aff¡liates of the debtor and ins¡ders of such affiliates; and any managing agent of
      the debtor. 1 I U.S.C. S 101 (31).

      B      None

              lnsldefs namê and addr€ss                                   Dates           Totål amount or value          Roasons for paym€nt or tren3for
      4.1.


              tnst0ers name




              C¡ty                           State        ZIP Code



              Releüonshlp to debtor



      4.2.

                                                                                         a
              lnside/s nsme


              Street




              City                           State        zlP Code


              Rela$onshlp to d€btor




Offlcial Form 207                                    Statement of F¡nanc¡al Affairc for Nonlndividuals Filing for Bankruptcy                                    page 2
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                        Payson Petroleum 3 Well, LP                                                           Case number   (¡t      17-40179
Deblor




 5.    Repossess¡ons, foreclosures, and returns
       List all property of the debtorthatwas obtained by a creditorwilhin I year before filing this case, including property repossessed by a creditor,
       sold at a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

       E       None
               Credltor,s name and     address                           Doscrlptlon of the   property                                     Date                 Value of propêrty
       5.1.

                                                                                                                                                                $_
               Creditofs name




               Crty                            State       ZIP Code

       5.2.


                           name


               Street




               City                            Stat€       zlP Code


 6. setoffs
       List any creditor, including a bank or f¡nancial institution, that within 90 days before filing th¡s case set off or otheMise took anything from an account of
       the debtor without permiss¡on or refused to make a payment at the debtor's direction from an account of the debtor because the debtor owed a debt.

       E       None
                 Credito¡'s name and eddrgss                                Doscription oftho ection cÍoditor took                         Dato act¡on   was         Amount
                                                                                                                                           taken

                                                                                                                                                                 $
                urednors name


                SUeet


                                                                           Last 4 digits of account number: XXXX-
                City                            Stâte       ZIP Code                                                  - - - -
                      Legal Actions or Assignments
  z.   Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
       List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor
       was ¡nvolved in any capacity-within 1 year before fìling this case.

       E       None
                C¡¡e tiflo                                     Natufe of ceso                         court or agêncy's namê and addrsSs                           Status ofcaso

       7   l     Searcy v. Payson Petroleum Well, LP &          Avoid and recover transfers           US Bankruptcy Court Eastern Distr¡ct of Texas                E   Pending

                @                                                                                                                                                  E   on appeat

                Case number                                                                          stfeet                                                        E   Concluded
                  Case No. 16-41044
                 Adv. No. 16-04106
                                                                                                     C¡ty                         Ståte              ZIP Code



                Case t¡üo                                                                              Court or agency's name and addresa
                                                                                                                                                                   E   Pending
       7.2.
                                                                                                                                                                   E   on appeal
                                                                                                                                                                   D   Conduded
                 Caso numbgr
                                                                                                     stfeet



                                                                                                     C¡ty                                 State      ZIP Code


Off¡cial Form 207                                      Statement of Financial Affairs for Non-lndiv¡duals Fil¡ng for Bankruptcy                                         page 3
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                         Payson Petroleum 3 Well, LP                                                                    Case number            17-40179
Debtor
                        Name




 8.    Assignments and receiversh¡P
                                                                                                                                        property in the
        List any property in the hands of an assignee for the benefit of creditors during the 1 20 days before filing this case and any
        hands of a receiver,  custodian, or other court-appointed off¡cer within 1 year before filing this case.

        E       None
                 custodien's name and            address                          Dêscr¡ption oftñe   ptoperty                         value
                                                                                  Revenue from wells                                       Unknown
                  Jason Searcy
                 Custod¡ån's name
                                                                                  Case t¡tle                                              Court nam6 and addross
                  Chapter      1   1   Trustee
                 street                                                                                                               US Bankruptcy Court Eastern District of Texas
                                                                                  ln re: Payson Petroleum, lnc. et al
                                                                                                                                      NâME

                                                                                  Case numbor
                 City                                  State        ZIP Code                                                          Street
                                                                                  16-41044

                                                                                  Dah of ordêr or a3sfgnment                                                                       ZIP Code
                                                                                                                                                              State

                                                                                  N/A


                       Gertain Gifts and Gharitable Gontributions

  9.    List all gifts or charitablê contributions the debtor gave to a recipient w¡th¡n 2 years before filing this case unless the aggregate value
        of the gifts to that recipient is less than $1,000
        B       None
                 Recipient,s name and            address                          Description of the gifts or   contributions                      Dates   gív€n           Value


        9.1.
                                                                                                                                                                          $_
                Recipient's name


                Strcet




                City                                  Stâte        ZIP Code


                  Recipient's relat¡onsh¡p to debtor




                                                                                                                                                                          $_
         9.2.   Recrprent s name


                Street




                crty                                  State        zlP code

                  Reclplenfs relat¡onsh¡p         þ   debtor



                        Gertain Losses

  10.    All losses from fire, theft, or other casualty within I year before filing th¡s case.
         B      None
                  Description of the property lost and how the           loss     Amount of payments toceivêd       ûor   the loss                 Datê of loss           valuê of propêrty
                  occurred                                                                                                                                                lôst
                                                                                   lf you have rece¡ved payments to cover the loss, for
                                                                                  example, from insurance, government compensalion, or
                                                                                  tort llability, l¡st the total rece¡ved.
                                                                                  L¡st unpaid claims on Official Form 106AJB (Schedule AtB:
                                                                                  Assefs - Re€, and Personal Prcpetty).


                                                                                                                                                                           $_

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                    Payson Petroleum 3 Well, LP                                                        Case number (r
                                                                                                                        1740179
Debtor
                    Name




                Gelta¡n Payments or Transfers
 11. Payments related           to bankruptcy
        List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before
        the f¡ling ofthis case to another person or entity, ¡nclud¡ng attomeys, that the debtor consulted about debt consolidation or restructuring,
        seeking bankruptcy relief, or f¡ling a bankruptcy case.

        E   None

             Who was pald or who r€ceivêd the transfor?             lf not money, dæcrlbê any property ÍansfBrod           Datss                 Total amount or
                                                                                                                                                 valuè

              Loewinsohn Flegle Deary Simon LLP
   11.1                                                                                                                        01t3112017         g 1,520.00
             Address

              12377 MeritDrive

              Su¡tè 900
              Dallas                        TX           75251



             Email or website address



             Who mado tho paymont, ¡f not debtor?




             Who was peld or who received tho      transfer?          lf not monoy, descrlbe any property transforrod      Dates                 Total amount or
                                                                                                                                                 velué


   11.2
                                                                                                                                                  $_
             Addrei6




             City                           State        ZIP Code

             Emall     orwobslþ ãddress



             lluho mads the payment, lf not     dsüor?



  12.   Self-settled trusts of which the debtor is a beneficiary
        List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the fìling of this case to
        a self-settled trust or similar device.
        Do not include transfers already listed on this statement.

        E   None

             Namo oftruBt ordêvlce                                    Oescrlbs arry prcperty tran!úarod                        Dãtos tranlfer!    Túlamouritor
                                                                                                                               were made          value


                                                                                                                                                  $_
             Trustso




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                          Petroleum 3 Well, LP                                                         Case number         17-40179
Debtor




 13.    Transfers not already listed on this statement
        List any transfers of money or other property--{y sale, trade, or any other means-{îade by the debtor or a person acting on behalf of the debtor
        within 2 years before the filing ofth¡s case to another person, other than property transferred in the ordinary course of business or financial affairs.
        lnclude both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.


        E    None


              l,Uho recê¡vêd trãnsfer?                                 Descriptlon of pþperty transferrcd or payments rece¡vod   Oate transfer    Total amount or
                                                                       or debts pa¡d ¡n exchango                                 waa made         value



                                                                                                                                                      $_
              Address

              Street




              City                         State        ZIP Code


              Rela$onchip to debûor




              Who rcceivod fansfer?
                                                                                                                                                      $_
    't3.2.

              Address

              Street




              City                         Stato        ZIP Code


              Rolaüonship to debtor




                 Previous Locations

  14.   Previous addrêsses
        List all previous addresses used by the debtorwithin 3 years before filing this case and the dates the addresses were used.

        El   Does not apply
              Addro$                                                                                                   Datosofoccupancy


    14.1                                                                                                               From                      To
              Street




              C¡ty                                                 State          ZIP Code


    14.2.                                                                                                              From                      To
              Stre6t




              crty                                                 State          zlP codê


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                    Payson Petroleum 3 Well, LP                                                               Case number
                                                                                                                                          17-40179
Debtor




                    Health Gare Bankruptcies
 15. Health Care         bankruptcies
        ls the debtor primarily engaged in offering services and facilities for:
             diagnosing or treating injury, deformity, or disease, or
        -    providing any surgical, psychiatric, drug treatment, or obstetric care?
        -
        El   r.¡o. Go to Part 9.
        E    Yes. F¡ll in the informatlon below.

               Fäcil¡ty name and address                             Naturo of tho buslne3s oporetlon, ¡ncludlng type of services the                    lfdebtor prov¡des meals
                                                                     debtor provides                                                                     and housing, number of
                                                                                                                                                         patients ¡n debto/s care


   15.1.
               Fac¡l¡ty nam€




               stfeot                                                Locat¡on whrre pat¡ont rocords aro mainta¡nod (if different          fromfacility   Howarerecordskept?
                                                                     address). If electronic, identify any service provider.

                                                                                                                                                         Check all that apply:

               City                    State           zlP Code                                                                                          fl   Electronically
                                                                                                                                                         E    Paper


               Facil¡ty name and add¡ess                             Nature of the business operat¡on, ¡ncluding type of sorvices the                    lf debtor provides meals
                                                                     debtor providos                                                                     and hous¡ng, number of
                                                                                                                                                         patients ln debto/s care

    15.2.
                        name



                                                                     Location where patlent rocords are mainta¡nêd (if difierent from facility           How are records kept?
               Street
                                                                     address). lf electronlc, identify any servicê provider.

                                                                                                                                                         Check all that apply:

               City                    State           ZIP Code
                                                                                                                                                         E    Electronically
                                                                                                                                                         fl   eaper


                    Personally ldentifiable lnformation
  16.   Does the debtor collect and retain perconally identifiable information of customers?

        B    ¡¡o.
        E    Yes. State the nature of the information collected and retained.
                    Does the debtor have a pr¡vacy policy about that information?
                    E    tto
                    E    ves
  lz.W¡th¡n 6 years before filing this case, have any employees of the debtor bsen participants in any ERISA, 401(k), 403(b), or other
      pens¡on or profit-sharing ptan made available by the debtor as an employee benefit?

        E    No. Go to Part 10.
             Yes. Does the debtor serve as plan administrator?
                    E    No. Go to Part 10.
                    E    Yes. Fill in below:
                           Name of   plan                                                                                      Employer idont¡fication numb€r of the plan

                                                                                                                               EIN:
                                                                                                                                      -
                         Has the plan been terminated?
                         Eruo
                         E     ves


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                      Payson Petroleum 3 Well, LP                                                            Case number            17-40179
Debtor
                      Name




                      Gertain Financial Accounts, Safe Deposit Boxes, and Storage Units
 18. Closed       financial accounts
       Within 1 year before filing this case, were any financial accounts or instruments held in the debtor's name, or for the debtor's benefit, closed, sold,
       moved, or transferred?
       lnclude checking, savings, money market, or otherf¡nancial accounts; certificates ofdepos¡t; and shares in banks, credit unions,
       brokerage houses, cooperat¡ves, associations, and other financial institutions.

        D   None

               Finenc¡el ¡nstltutlon name and address              Lâst4d¡gitsofâccount           Typeofaccourit                     Date account wa3       Last bãlanco
                                                                   numbef                                                            closed, sold, movêd,   bofors c106¡ng or
                                                                                                                                     or úansferred          transfer

   j8.1.       Northstar Bank                                      XXXX- 5       348              I       Chect<ing
                                                                                                                                                               E
                                                                                                                                                                   36.33
               Nâme
                                                                                                  E       savings

                                                                                                  E       Money market

                                                                                                  E       Brokerage

               Çrty                    State            ZIP Codê                                  E       otn"r-
       18.2.    Northstar Bank                                      XXXX-     5181                E       Cnecking                                                 5.44
               Nam€
                                                                                                  Il      savings

                                                                                                   E Money market
                                                                                                   D Brokerage
               C¡ty                    State            ZIP Code                                   E otr"r-

  19. Safe     deposit boxes
        List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this case.

        E   None
                                                                                                                                                                      Doos dsbûor
                 Depos¡tory institrflon name and    address         Names of anyone with access to ¡t                  Doscrlpû¡on of the contonts
                                                                                                                                                                     stlll have ¡t?

                                                                                                                                                                      fl   ruo
               Name                                                                                                                                                   fl   Yes

               sueet


                                                                    AddreEs
               CÌty                    State            ZIP Code




 20.   Off-prem¡ses storage
       List any property kept in storage un¡ts orwarehouses within 1 year before filing this case. Do not include facilities that are in a part of a bu¡ld¡ng in
       which the debtor does business.

       E    None
                                                                                                                                                                      Does debtor
                 Facllity name and address                          Names of anyone with accsss to   lt               Doscripûion ofthe contents
                                                                                                                                                                      still have ¡t?
                                                                                                                                                                      El t¡o
                                                                                                                                                                      E    Yes
               Name




                                                                     Address
               City                     State           ZIP Code




Official Form 207                                   Statement of Financial Affairs for Non.lndividuals Filing for Bankruptcy                                          page   I
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Debtor               Payson Petroleum 3 Well, LP                                                               Case number   lrtlrn   o*n',U
                   Name




                     Propert¡r the Debtor Holds or Gontrols That the Debtor Does Not Own

 21. Property held for another
     L¡st any property that the debtor holds or controls that another entity owns. lnclude any property borrowed from, being stored for, or held in
     trust. Do not list leased or rented property.

      E       None
                                                                      Location of the proporty                     Descrlptlon of tho property                       Value
               owne/s name and address
                                                                                                                                                                     $_
               Name


               s¡reet



               City                   State         ZIP Code




                     Details About Environmental lnformation

  For the purpose of Part 12, the following definitions apply:
  :   Environmenfal /aw means any statute or governmental regulation that concerns pollution, contamination, or hazardous material,
      regardless of the medium affected (air, land, water, or any other med¡um).
  r   Sife means any location, facility, or property, including d¡sposal sites, that the debtor now owns, operates, or utilizes or that the debtor
      formerly owned, operated, or util¡zed.
  t   Hazardous material means anything that an env¡ronmental law defines as hazardous or tox¡c, or describes as a pollutant, contam¡nant,
      or a s¡milarly harmful substance.

  Report all notices, releases, and proceedings known, regardless of when they occurred.

  22. Has     the debtor been a party in any judicial or administrat¡ve proceeding under any environmsntal law? lnclude settlements and orders.

      Eruo
      E       Yes. Provide details below
               Caso titlo                                      Court or agency name and addrgss                    Nature of the case                            Status of caso

                                                                                                                                                                 E   Pending
               Case nr¡mbo¡                                    Namg                                                                                              E   on appeal
                                                                                                                                                                 E   Concluded
                                                               Street




                                                               urty                     State      ZIP tjOúE




  23. Has any governmental un¡t othorwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
      env¡ronmental law?

         El   no
         E    Yes. Provide details below.

               Sito namê and   eddress                         Governmsntal unit name and        address           Environmental law, lf       known            Dato of noticê



                Name                                           Name




               ffie                                            City                    State       ZIP Code




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                     Payson Petroleum 3 Well, LP                                                              Case number            17-40179
Debtor                                                                                                                      1;r




 24. Has    the debtor notified any governmental unit of any release of hazardous material?
       El   ruo
       E    Yes. Provide details below.

            Site name and     addrcss                           Governmontal unit namo and    address             Environmental l¡w, if known                   Deto of not¡co



              Name                                              Nâme


                                                                Street




             City                     State        ZIP   Code   C¡ty                  State        ZIP Code




@                      Details About the Debtoy's Business or Gonnections to Any Business

 25.   Other businesses in which the debtor has or has had an interest
       List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
       lnclude this information even ¡f already listed in the Schedules.

       E    None


             Busine¡s name and addross                           Doscribê the naturc of the buslness                          Employer ldeítif¡cation numbor
                                                                                                                             Do not ¡nclude Soc¡al Securily numbêr or lTlN.

                                                                                                                              EIN:
   25.1
              Name                                                                                                            Datos business exlsted

              Strset
                                                                                                                              From                 To

              Çrty                    State        ZIP Code




              Buslneas namo and addross                          Dgscribo tho nature oftho buslnoss                           Employer ldontifi cation numbor
   25.2.                                                                                                                      Do not include Soc¡al Security number or lTlN.

                                                                                                                              EIN:   _
              Name                                                                                                            Datos business oxistêd



                                                                                                                              From                 To

              u[y                     State        zlP (.]ode



              Bus¡ness name ând address                          Describe the naturs of tfto buSiness                         Employer lde ntificat¡on number
                                                                                                                              Do not ¡nclude Social Secutity number or lTlN.


   25.3.                                                                                                                      EIN:
                                                                                                                                     -
                                                                                                                              Datos business ox¡stod
              Street

              -                                                                                                               From   _             To
              ffiCóoe




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                        Payson Petroleum 3 Well, LP                                                               Case number            1740'179
Debtor
                       Name




 26.   Books, records, and financial statements
       26ã.   List all accountents and bookkeepers who maintained the debtor's books and records within 2 years before filing this case.

                fl     None
                      Namo and address                                                                                          Datos of servlce


                      Bret Pedersen, former Controller of Payson Petroleum Grayson, LLC
                                                                                                                                1¡s¡¡'   2014                 1e   2016
       a.1
                  Name
                      Unknown
                  strêât




                  City                                                              State              ZIP Code



                      Name and addross                                                                                          Dates of service


                                                                                                                                ç¡s¡     2014                 16   2015
    26a.2.            Hinckley Cook    i   Kris Hinckley
                      Namê
                      5850 Town and Country Blvd
                  Street
                      Suite'1304
                      Frisco                                                         TX                75034
                  City                                                              State              ZIP Code



       26b. List all firms or individuals who have ar.rdited, compiled, or revie!ì/ed debtor's books of account and records or prepared a financial
            statement within 2 years before filing this case.
                E      None

                          Name and address                                                                                      Dates of service


                                                                                                                                From                          To
               b.1.
                          Name


                          Street




                          City                                                              State          zlP cods


                          Name and address                                                                                      Dates of servico

                                                                                                                                From                          To
             26b.2.
                          Name


                          Street




                          City                                                              State          ZIP Code



       26c. List all firms or ¡ndividuals who ìiære in possess¡on of the debto/s books of account and records when this case is f led.
                E       None See attached for additional
                                                                                                                                lf any books of account and rocorda are
                          Namo and         addresg                                                                              uñavallablo, oxplalnwhy

                             Jason Searcy, Chapter 1'l Trustee C/O Snow Spence Greên LLC                                        The chapter             trustee is ¡n possession of most books
             26c.1.                                                                                                                             1   1

                          Name                                                                                                  and reærds, which debtor understands he obtained from
                             2929 Allen Parkway
                          Street                                                                                                J. Michael Wheeler
                             Suite 2800
                             Houston                                                   Texas               770'19
                          City                                                              Stats          ZIP Code




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Debtor         Pavson Petroleum 3 Well, LP                                           Case number      17-40179
             Nâmê




         26c. Continued

                    Name and address
                    Matthew Griffin
                    2221 Justin Road #119-444
                    Flower Mound, TX 75028

                    Name and address
                    J. MichaelWheeler
                    C/O Anderson Tobin PLLC
                    13355 Noel Rd, #1900
                    Dallas, Texas 75240
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                      Payson Petrolêum 3 Well, LP                                                           Case number (r        17-40179
Debtor
                    Name




                                                                                                                           lf any books of account and records a¡e
                        Nam€ and address                                                                                   unavailable, explain why


           26c.2.       Hinckley Cook / Kr¡s Hinckley
                        Namê
                        5850 Town and Country Blvd
                        Streêt
                        Suite 1304
                        Frisco                                                TX                       75034
                        City                                                  State                    ZIP Code




        26d. List all financial institutions, creditors, and other part¡es, including mercantile and trade agencies, to whom the debtor issued a financial statement
             w¡thin 2 years before filing this case.

              E       None

                        Name and addræs


           26d.1
                        Name


                        sreet



                        City                                                  Stato                    ZIP Code



                        Name and address


           26d.2.
                        Namg


                        Street




                        UtrY                                                  utate                    zlP 00de




  27.   lnventories
        Have any inventories ofthe debtor's property been taken within 2 years before filing this case?

        El   No
        E    yes. Give the details about the two most recent inventor¡es.



               Nams ofthe pof3on who supêrvisêd the taklng ofthe lnvorìtory                                    Dats of       The dollår amount and båsis (cost, msrk€û, or
                                                                                                               lnventory     other basis) of each inventory

                                                                                                                           $


               Name and addross oftho per3on who has po8sosslon of invsntory rocords


    27.1
               Name


               Streêt




               UtrY                                                                         ZIP COdE




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                    Payson Petroleum 3 Well, LP                                                                             17-40179
Debtor                                                                                              Case number     lrrrnown)-



            Name      ofthe porson n ho suporv¡sed thê tak¡ng of tho invontory                     Dato   of          The dollar amount and bes¡s (cosi ma¡ket, or
                                                                                                   ¡nventory          othor bas¡s) of oach inventory




            Namo and      addr$e ofthe person who has possoss¡on of ¡nventory records


   27.2.
            Name


            Street




            urty                                                                      ZIP (jOdE



 28.   List the debtor,s officers, directors, manag¡ng membensr general partneF, members in control, controlling shareholders, or other
       people in control of the debtor at the t¡me of the fil¡ng of this case'

            Name                                     Addrêss                                                   Posltion and nâture of any              % of interest, ¡f any
                                                                                                               lnterest
             Payson Petroleum Grayson, LLC           2221 Juslin Rd #1 19-444, Flower Mound, TX 75028          General Partner                           Less than 1%

             3   WellMGP, LLC                        1757 Harpsichord Way, Henderson, NV          89012        Managing General           Partner        Less than l%




 29.   W¡thin 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in control
       of the debtor, or shareholderc in control of the debtor who no longer hold these posit¡ons?
       Eruo
       El Yes. ldentify below.
            Namo                                     Address                                                   Posltlon and nature   of         Per¡od durlng which
                                                                                                               any lnt€rsst                     posit¡on or interost was
                                                                                                                                                held
             Payson Petroleum Grayson,      LLC      2221 Just¡n Rd #119-444, Flower Mound, TX 75028            Managing Gêneral Partner       -
                                                                                                                                               From
                                                                                                                                                       20't4
                                                                                                                                                               To
                                                                                                                                                                    2016

                                                                                                                                               From            To

                                                                                                                                               From            To

                                                                                                                                               From            To

  30. Payments,       distributions, or withdrawals credited or given to insiders
       Within 1 year before filing this case, d¡d the debtor provide an insider with value in any form, including salary, other compensation, draws,
       bonuses, loans, credits on loans, stock redemptions, and options exercised?
       Eruo
       E   Yes. ldentify below.

             Name and addrcss of recipient                                                 Amount of money or                    Dates                  R€ason for
                                                                                           doscriptlon ând value of                                     providing tho value
                                                                                           prop3rty


   30.1
             Well revenue distributed to limited partners                                   $88,243.69                            02t2016
             Name
                                                                                             s24.754                             05/2016
             Street


                                                                                             $26,855.93                          07t2016
             C¡ty                                         State           ZIP Codê

             Relatlonsh¡p to debtor
             Limited partners

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                          Payson Petroleum 3 Well, LP                                                                           17-40179
Debtor                                                                                                      Case number




                Name and eddross of rociplont


    s0.2
                Name




                C¡ty                                              Stato          ZIP Codo


                    Relationship to debtor




 31.    Within 6 years before fiting this case, has the debtor been a member of any consolidated group for tax purposes?
        ENo
        E    Yes. ldentify below.

                    Name of the parent corporation                                                                 Employer ldentif¡cation numbet ofthe parent
                                                                                                                   corporatlon

                                                                                                                   EIN:   _


  32.   Within 6 years before filing this case, has the debtor as an employer been responsible for contribut¡ng to a pension fund?
        El     ruo
        Ü    Yes. ldentifi below.


                    Name   ofthe pens¡on fund                                                                      Employer ldentificat¡on number ofthe pension fund

                                                                                                                   EIN:   _


                           Signature and Declaration


               WARNING Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
                                 -
               connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both'
               18 U.S.C. SS 152,1341,1519, and 3571.


                I have examined the information in           this Statement of Financ¡at Affairs and any attachments and have a reasonable belief that the information
                is true and correct.

                I   declare under penalty of perjury that the foregoing is true and correct'

                Executed on           1t31t2017
                                      MM / DD /YTTY


           *         rc/ Muttnew C. Griffin                                                       Pnnteo name
                                                                                                                Matthew C, Griffin
                S¡gnature of ¡ndiv¡dual signing on behalf of the debtor

                                                         Sole member and former President of general partner Payson Petroleum Grayson, LLC
                    Position or relationship to debtor




         Afe additional pages to Statement of Financiat Affairs for Non-lndividuals Filing lor Banhruptcy (Official Form 207) attached?
           E        t¡o
           El       Yes




                                                           Statement of Financial Affains for Non'lndividuals Filing for Bankruptcy                              page 14
Official Form 207
